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         ORAL ARGUMENT SCHEDULED FOR MARCH 20, 2023
                     Appeal No. 22-7063

                   UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT

AMERICAN SOCIETY FOR TESTING AND MATERIALS; NATIONAL FIRE
PROTECTION ASSOCIATION, INC.; AMERICAN SOCIETY OF HEATING,
   REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC.
                                          Plaintiffs-Appellants,
                            V.

                         PUBLIC.RESOURCE.ORG, INC.
                                                              Defendant-Appellee.

    APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF COLUMBIA
           Hon. Tanya S. Chutkan, Case No. 1:13-cv-1215-TSC


   ADDENDUM TO BRIEF OF AMERICAN FEDERATION OF STATE,
   COUNTY AND MUNICIPAL EMPLOYEES AS AMICUS CURIAE IN
     SUPPORT OF DEFENDANT-APPELLEE AND AFFIRMANCE

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                                 Employees

                                  February 2, 2023
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§ 1910.6 Incorporation by reference., 29 C.F.R. § 1910.6




   KeyCite Yellow Flag - Negative Treatment
Proposed Regulation

 Code of Federal Regulations
   Title 29. Labor
      Subtitle B. Regulations Relating to Labor
         Chapter XVII. Occupational Safety and Health Administration, Department of Labor
           Part 1910. Occupational Safety and Health Standards (Refs & Annos)
              Subpart A. General (Refs & Annos)

                                                         29 C.F.R. § 1910.6

                                                § 1910.6 Incorporation by reference.

                                                      Effective: July 15, 2019
                                                              Currentness




(a)(1) The standards of agencies of the U.S. Government, and organizations which are not agencies of the U.S. Government
which are incorporated by reference in this part, have the same force and effect as other standards in this part. Only the
mandatory provisions (i.e., provisions containing the word “shall” or other mandatory language) of standards incorporated by
reference are adopted as standards under the Occupational Safety and Health Act.


     (2) Any changes in the standards incorporated by reference in this part and an official historic file of such changes are
     available for inspection in the Docket Office at the national office of the Occupational Safety and Health Administration,
     U.S. Department of Labor, Washington, DC 20210; telephone: 202–693–2350 (TTY number: 877–889–5627).


     (3) The standards listed in this section are incorporated by reference into this part with the approval of the Director of the
     Federal Register in accordance with 5 U.S.C. 552(a) and 1 CFR part 51. To enforce any edition other than that specified
     in this section, OSHA must publish a document in the Federal Register and the material must be available to the public.


     (4) Copies of standards listed in this section and issued by private standards organizations are available for purchase from
     the issuing organizations at the addresses or through the other contact information listed below for these private standards
     organizations. In addition, these standards are available for inspection at any Regional Office of the Occupational Safety
     and Health Administration (OSHA), or at the OSHA Docket Office, U.S. Department of Labor, 200 Constitution Avenue
     NW, Room N–3508, Washington, DC 20210; telephone: 202–693–2350 (TTY number: 877–889–5627). They are also
     available for inspection at the National Archives and Records Administration (NARA). For information on the availability
     of these standards at NARA, telephone: 202–741–6030, or go to www.archives.gov/federal-register/cfr/ibr-locations.html.


(b) The following material is available for purchase from the American Conference of Governmental Industrial Hygienists
(ACGIH), 1014 Broadway, Cincinnati OH 45202:
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§ 1910.6 Incorporation by reference., 29 C.F.R. § 1910.6




     (1) “Industrial Ventilation: A Manual of Recommended Practice” (22nd ed., 1995), incorporation by reference (IBR)
     approved for § 1910.124(b)(4)(iii).


     (2) Threshold Limit Values and Biological Exposure Indices for 1986–87 (1986), IBR approved for § 1910.120, PEL
     definition.


(c) The following material is available for purchase from the American Society of Agricultural Engineers (ASAE), 2950 Niles
Road, Post Office Box 229, St. Joseph, MI 49085:


     (1) ASAE Emblem for Identifying Slow Moving Vehicles, ASAE S276.2 (1968), IBR approved for § 1910.145(d)(10).


     (2) [Reserved]


(d) The following material is available for purchase from the Agriculture Ammonia Institute–Rubber Manufacturers (AAI–
RMA) Association, 1400 K St. NW, Washington DC 20005:


     (1) AAI–RMA Specifications for Anhydrous Ammonia Hose, IBR approved for § 1910.111(b)(8)(i).


     (2) [Reserved]


(e) Except as noted, copies of the standards listed below in this paragraph are available for purchase from the American National
Standards Institute (ANSI), 25 West 43rd Street, 4th Floor, New York, NY 10036; telephone: 212–642–4900; fax: 212–398–
0023; Web site: http://www.ansi.org.


     (1), (2) [Reserved by 72 FR 71608]


     (3) ANSI A11.1–65 (R 70) Practice for Industrial Lighting, IBR approved for §§ 1910.219(c)(5)(iii); 1910.261(a)(3)(i),
     (c)(10), and (k)(21); and 1910.265(c)(2).


     (4) ANSI A11.1–65 Practice for Industrial Lighting, IBR approved for §§ 1910.262(c)(6) and 1910.265(d)(2)(i)(a).


     (5) [Reserved by 72 FR 71608]



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§ 1910.6 Incorporation by reference., 29 C.F.R. § 1910.6



    (6) ANSI A13.1–56 Scheme for the Identification of Piping Systems, IBR approved for §§ 1910.253(d)(4)(ii);
    1910.261(a)(3)(iii); 1910.262(c)(7).


    (7) ANSI A14.1–68 Safety Code for Portable Wood Ladders, Supplemented by ANSI A14.1a–77, IBR approved for §
    1910.261(a)(3)(iv) and (c)(3)(i).


    (8) ANSI A14.2–56 Safety Code for Portable Metal Ladders, Supplemented by ANSI A14.2a–77, IBR approved for §
    1910.261(a)(3)(v) and (c)(3)(i).


    (9) ANSI A14.3–56 Safety Code for Fixed Ladders, IBR approved for §§ 1910.68(b)(4); and 1910.261(a)(3)(vi) and
    (c)(3)(i).


    (10) ANSI A17.1–65 Safety Code for Elevators, Dumbwaiters and Moving Walks, Including Supplements, A17.1a (1967);
    A17.1b (1968); A17.1c (1969); A17.1d (1970), IBR approved for § 1910.261(a)(3)(vii), (g)(11)(i), and (l)(4).


    (11) ANSI A17.2–60 Practice for the Inspection of Elevators, Including Supplements, A17.2a (1965), A17.2b (1967), IBR
    approved for § 1910.261(a)(3)(viii).


    (12) ANSI A90.1–69 Safety Standard for Manlifts, IBR approved for § 1910.68(b)(3).


    (13) ANSI A92.2–69 Standard for Vehicle Mounted Elevating and Rotating Work Platforms, IBR approved for §
    1910.67(b)(1), (2), (c)(3), and (4) and 1910.268(s)(1)(v).


    (14) ANSI A120.1–70 Safety Code for Powered Platforms for Exterior Building Maintenance, IBR approved for § 1910.66
    app. D (b) through (d).


    (15) ANSI B7.1–70 Safety Code for the Use, Care and Protection of Abrasive Wheels, IBR approved for §§
    1910.215(b)(12) and 1910.218(j).


    (16) ANSI B15.1–53 (R 58) Safety Code for Mechanical Power Transmission Apparatus, IBR approved for §§
    1910.68(b)(4) and 1910.261(a)(3)(ix), (b)(1), (e)(3), (e)(9), (f)(4), (j)(5)(iv), (k)(12), and (l)(3).


    (17) ANSI B20.1–57 Safety Code for Conveyors, Cableways, and Related Equipment, IBR approved for §§
    1910.218(j)(3); 1910.261(a)(3)(x), (b)(1), (c)(15)(iv), (f)(4), and (j)(2); 1910.265(c)(18)(i).




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§ 1910.6 Incorporation by reference., 29 C.F.R. § 1910.6



    (18) ANSI B30.2–43 (R 52) Safety Code for Cranes, Derricks, and Hoists, IBR approved for § 1910.261(a)(3)(xi),
    (c)(2)(vi), and (c)(8)(i) and (iv).


    (19) ANSI B30.2.0–67 Safety Code for Overhead and Gantry Cranes, IBR approved for §§ 1910.179(b)(2); 1910.261
    (a)(3)(xii), (c)(2)(v), and (c)(8)(i) and (iv).


    (20) ANSI B30.5–68 Safety Code for Crawler, Locomotive, and Truck Cranes, IBR approved for §§ 1910.180(b)(2) and
    1910.261(a)(3)(xiii).


    (21) ANSI B30.6–69 Safety Code for Derricks, IBR approved for §§ 1910.181(b)(2) and 1910.268(j)(4)(iv)(E) and (H).


    (22) ANSI B31.1–55 Code for Pressure Piping, IBR approved for § 1910.261(g)(18)(iii).


    (23) ANSI B31.1–67, IBR approved for § 1910.253(d)(1)(i)(A)


    (24) ANSI B31.1a–63 Addenda to ANSI B31.1 (1955), IBR approved for § 1910.261(g)(18)(iii).


    (25) ANSI B31.1–67 and Addenda B31.1 (1969) Code for Pressure Piping, IBR approved for §§ 1910.103(b)(1)(iii)(b);
    1910.104(b)(5)(ii); 1910.218(d)(4) and (e)(1)(iv); and 1910.261(a)(3)(xiv) and (g)(18)(iii).


    (26) ANSI B31.2–68 Fuel Gas Piping, IBR approved for § 1910.261(g)(18)(iii).


    (27) ANSI B31.3–66 Petroleum Refinery Piping, IBR approved for § 1910.103(b)(3)(v)(b).


    (28) ANSI B31.5–66 Addenda B31.5a (1968) Refrigeration Piping, IB approved for §§ 1910.103(b)(3)(v)(b) and
    1910.111(b)(7)(iii).


    (29) ANSI B56.1–69 Safety Standard for Powered Industrial Trucks, IBR approved for §§ 1910.178(a)(2) and (3) and
    1910.261 (a)(3)(xv), (b)(6), (m)(2), and (m)(5)(iii).


    (30) ANSI B57.1–65 Compressed Gas Cylinder Valve Outlet and Inlet Connections, IBR approved for §
    1910.253(b)(1)(iii).


    (31) [Reserved]


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§ 1910.6 Incorporation by reference., 29 C.F.R. § 1910.6



    (32) ANSI B175.1–1991, Safety Requirements for Gasoline–Powered Chain Saws § 1910.266(e)(2)(i).


    (33) [Reserved]


    (34) ANSI C33.2–56 Safety Standard for Transformer–Type Arc Welding Machines, IBR approved for § 1910.254(b)(1).


    (35) [Reserved]


    (36) ANSI H23.1–70 Seamless Copper Water Tube Specification, IBR approved for § 1910.110(b)(8)(ii) and
    (13)(ii)(b)(1).


    (37) ANSI H38.7–69 Specification for Aluminum Alloy Seamless Pipe and Seamless Extruded Tube, IBR approved for
    § 1910.110(b)(8)(i).


    (38) ANSI J6.4–71 Standard Specification for Rubber Insulating Blankets, IBR approved for § 1910.268(f)(1) and
    (n)(11)(v).


    (39) ANSI J6.6–71 Standard Specification for Rubber Insulating Gloves, IBR approved for § 1910.268(f)(1) and
    (n)(11)(iv).


    (40) ANSI K13.1–67 Identification of Gas Mask Canisters, IBR approved for § 1910.261(a)(3)(xvi) and (h)(2)(iii).


    (41) ANSI K61.1–60 Safety Requirements for the Storage and Handling of Anhydrous Ammonia, IBR approved for §
    1910.111(b)(11)(i).


    (42) ANSI K61.1–66 Safety Requirements for the Storage and Handling of Anhydrous Ammonia, IBR approved for §
    1910.111(b)(11)(i).


    (43) ANSI O1.1–54 (R 61) Safety Code for Woodworking Machinery, IBR approved for § 1910.261(a)(3)(xvii), (e)(7),
    and (i)(2).


    (44) ANSI S1.4–71 (R 76) Specification for Sound Level Meters, IBR approved for § 1910.95 appendixes D and I.


    (45) ANSI S1.11–71 (R 76) Specification for Octave, Half–Octave and Third–Octave Band Filter Sets, IBR approved for
    § 1910.95 appendix D.
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§ 1910.6 Incorporation by reference., 29 C.F.R. § 1910.6




    (46) ANSI S3.6–69 Specifications for Audiometers, IBR approved for § 1910.95(h)(2) and (5)(ii) and appendix D.


    (47) ANSI Z4.1–68 Requirements for Sanitation in Places of Employment, IBR approved for § 1910.261(a)(3)(xviii) and
    (g)(15)(vi).


    (48) [Reserved]


    (49) ANSI Z9.1–51 Safety Code for Ventilation and Operation of Open Surface Tanks, IBR approved for
    1910.261(a)(3)(xix), (g)(18)(v), and (h)(2)(i).


    (50) ANSI Z9.1–71 Practices for Ventilation and Operation of Open–Surface Tanks, IBR approved for §
    1910.124(b)(4)(iv).


    (51) ANSI Z9.2–60 Fundamentals Governing the Design and Operation of Local Exhaust Systems, IBR approved for §§
    1910.94(a)(4)(i) introductory text, (a)(6) introductory text, (b)(3)(ix), (b)(4)(i) and (ii), (c)(3)(i) introductory text,
    (c)(5)(iii)(b), and (c)(7)(iv)(a); 1910.261(a)(3)(xx), (g)(1)(i) and (iii), and (h)(2)(ii).


    (52) ANSI Z9.2–79 Fundamentals Governing the Design and Operation of Local Exhaust Systems, IBR approved for §
    1910.124(b)(4)(i).


    (53) ANSI Z12.12–68 Standard for the Prevention of Sulfur Fires and Explosions, IBR approved for § 1910.261(a)(3)(xxi),
    (d)(1)(i), (f)(2)(iv), and (g)(1)(i).


    (54) ANSI Z12.20–62 (R 69) Code for the Prevention of Dust Explosions in Woodworking and Wood Flour
    Manufacturing Plants, IBR approved for § 1910.265(c)(20)(i).


    (55) ANSI Z21.30–64 Requirements for Gas Appliances and Gas Piping Installations, IBR approved for §
    1910.265(c)(15).


    (56) ANSI Z24.22–57 Method of Measurement of Real–Ear Attenuation of Ear Protectors at Threshold, IBR approved for
    § 1910.261(a)(3)(xxii).


    (57) ANSI Z33.1–61 Installation of Blower and Exhaust Systems for Dust, Stock, and Vapor Removal or Conveying, IBR
    approved for §§ 1910.94(a)(4)(i); 1910.261(a)(3)(xxiii) and (f)(5); and 1910.265(c)(20)(i).

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§ 1910.6 Incorporation by reference., 29 C.F.R. § 1910.6




    (58) ANSI Z33.1–66 Installation of Blower and Exhaust Systems for Dust, Stock, and Vapor Removal or Conveying, IBR
    approved for § 1910.94(a)(2)(ii).


    (59) ANSI Z35.1–1968, Specifications for Accident Prevention Signs; IBR approved for § 1910.261(c). Copies available
    for purchase from the IHS Standards Store, 15 Inverness Way East, Englewood, CO 80112; telephone: 1–877–413–5184;
    Web site: www.global.ihs.com.


    (60) ANSI Z41–1999, American National Standard for Personal Protection—Protective Footwear; IBR approved for §
    1910.136(b)(1)(ii). Copies of ANSI Z41–1999 are available for purchase only from the National Safety Council, P.O. Box
    558, Itasca, IL 60143–0558; telephone: 1–800–621–7619; fax: 708–285–0797; Web site: http://www.nsc.org.


    (61) ANSI Z41–1991, American National Standard for Personal Protection—Protective Footwear; IBR approved for §
    1910.136(b)(1)(iii). Copies of ANSI Z41–1991 are available for purchase only from the National Safety Council, P.O.
    Box 558, Itasca, IL 60143–0558; telephone: 1–800–621–7619; fax: 708–285–0797; Web site: http://www.nsc.org.


    (62), (63) [Reserved by 72 FR 71608]


    (64) ANSI Z49.1–67 Safety in Welding and Cutting, IBR approved for § 1910.252(c)(1)(iv)(A) and (B).


    (65) USAS Z53.1–1967 (also referred to as ANSI Z53.1–1967), Safety Color Code for Marking Physical Hazards, ANSI
    approved October 9, 1967; IBR approved for § 1910.97(a) and 1910.145(d). Copies available for purchase from the IHS
    Standards Store, 15 Inverness Way East, Englewood, CO 80112; telephone: 1–877–413–5184; Web site:
    www.global.ihs.com.


    (66) ANSI Z535.1–2006 (R2011), Safety Colors, reaffirmed July 19, 2011; IBR approved for §§ 1910.97(a) and
    1910.145(d). Copies available for purchase from the:


    (i) American National Standards Institute's e–Standards Store, 25 W 43rd Street, 4th Floor, New York, NY 10036;
    telephone: 212–642–4980; Web site: http://webstore.ansi.org/;


    (ii) IHS Standards Store, 15 Inverness Way East, Englewood, CO 80112; telephone: 877–413–5184; Web site:
    www.global.ihs.com; or


    (iii) TechStreet Store, 3916 Ranchero Dr., Ann Arbor, MI 48108; telephone: 877–699–9277; Web site:
    www.techstreet.com.

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§ 1910.6 Incorporation by reference., 29 C.F.R. § 1910.6




    (67) ANSI Z535.2–2011, Environmental and Facility Safety Signs, published September 15, 2011; IBR approved for §
    1910.261(c). Copies available for purchase from the:


    (i) American National Standards Institute's e–Standards Store, 25 W 43rd Street, 4th Floor, New York, NY 10036;
    telephone: 212–642–4980; Web site: http://webstore.ansi.org/;


    (ii) IHS Standards Store, 15 Inverness Way East, Englewood, CO 80112; telephone: 877–413–5184; Web site:
    www.global.ihs.com; or


    (iii) TechStreet Store, 3916 Ranchero Dr., Ann Arbor, MI 48108; telephone: 877–699–9277; Web site:
    www.techstreet.com.


    (68) ANSI Z54.1–63 Safety Standard for Non–Medical X–Ray and Sealed Gamma Ray Sources, IBR approved for §
    1910.252(d)(1)(vii) and (2)(ii).


    (69) ANSI/ISEA Z87.1–2010, Occupational and Educational Personal Eye and Face Protection Devices, Approved April
    13, 2010; IBR approved for § 1910.133(b). Copies are available for purchase from:


    (i) American National Standards Institute's e–Standards Store, 25 W 43rd Street, 4th Floor, New York, NY 10036;
    telephone: (212) 642–4980; Web site: http://webstore.ansi.org/;


    (ii) IHS Standards Store, 15 Inverness Way East, Englewood, CO 80112; telephone: (877) 413–5184; Web site:
    http://global.ihs.com; or


    (iii) TechStreet Store, 3916 Ranchero Dr., Ann Arbor, MI 48108; telephone: (877) 699–9277; Web site:
    http://techstreet.com.


    (70) ANSI Z87.1–2003, Occupational and Educational Eye and Face Personal Protection Devices Approved June 19,
    2003; IBR approved for §§ 1910.133(b). Copies available for purchase from the:


    (i) American National Standards Institute's e–Standards Store, 25 W 43rd Street, 4th Floor, New York, NY 10036;
    telephone: (212) 642–4980; Web site: http://webstore.ansi.org/;




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    (ii) IHS Standards Store, 15 Inverness Way East, Englewood, CO 80112; telephone: (877) 413–5184; Web site:
    http://global.ihs.com; or


    (iii) TechStreet Store, 3916 Ranchero Dr., Ann Arbor, MI 48108; telephone: (877) 699–9277; Web site:
    http://techstreet.com.


    (71) ANSI Z87.1–1989 (R–1998), Practice for Occupational and Educational Eye and Face Protection, Reaffirmation
    approved January 4, 1999; IBR approved for § 1910.133(b). Copies are available for purchase from:


    (i) American National Standards Institute's e–Standards Store, 25 W 43rd Street, 4th Floor, New York, NY 10036;
    telephone: (212) 642–4980; Web site: http://webstore.ansi.org/;


    (ii) IHS Standards Store, 15 Inverness Way East, Englewood, CO 80112; telephone: (877) 413–5184; Web site:
    http://global.ihs.com; or


    (iii) TechStreet Store, 3916 Ranchero Dr., Ann Arbor, MI 48108; telephone: (877) 699–9277; Web site:
    http://techstreet.com.


    (72) ANSI Z88.2–1969, Practices for Respiratory Protection; IBR approved for §§ 1910.94(c)(6)(iii)(a), 1910.134(c); and
    1910.261(a)(3)(xxvi), (b)(2), (f)(5), (g)(15)(v), (h)(2)(iii), (h)(2)(iv), and (i)(4).


    (73) American National Standards Institute (ANSI) Z89.1–2009, American National Standard for Industrial Head
    Protection, approved January 26, 2009; IBR approved for § 1910.135(b)(1)(i). Copies of ANSI Z89.1–2009 are available
    for purchase only from the International Safety Equipment Association, 1901 North Moore Street, Arlington, VA 22209–
    1762; telephone: 703–525–1695; fax: 703–528–2148; Web site: www.safetyequipment.org.


    (74) American National Standards Institute (ANSI) Z89.1–2003, American National Standard for Industrial Head
    Protection; IBR approved for § 1910.135(b)(1)(ii). Copies of ANSI Z89.1–2003 are available for purchase only from the
    International Safety Equipment Association, 1901 North Moore Street, Arlington, VA 22209–1762; telephone: 703–525–
    1695; fax: 703–528–2148; Web site: www.safetyequipment.org.


    (75) American National Standards Institute (ANSI) Z89.1–1997, American National Standard for Personnel Protection—
    Protective Headwear for Industrial Workers—Requirements; IBR approved for § 1910.135(b)(1)(iii). Copies of ANSI
    Z89.1–1997 are available for purchase only from the International Safety Equipment Association, 1901 North Moore
    Street, Arlington, VA 22209–1762; telephone: 703–525–1695; fax: 703–528–2148; Web site: www.safetyequipment.org.


    (76) ANSI Z41.1–1967 Men's Safety Toe Footwear; IBR approved for § 1910.261(i)(4).

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    (77) ANSI Z87.1–1968 Practice of Occupational and Educational Eye and Face Protection; IBR approved for §
    1910.261(a)(3)(xxv), (d)(1)(ii), (f)(5), (g)(1), (g)(15)(v), (g)(18)(ii), and (i)(4).


    (78) ANSI Z89.1–1969 Safety Requirements for Industrial Head Protection; IBR approved for § 1910.261(a)(3)(xxvii),
    (b)(2), (g)(15)(v), and (i)(4).


    (79) ANSI Z89.2–1971 Safety Requirements for Industrial Protective Helmets for Electrical Workers, Class B; IBR
    approved for § 1910.268(i)(1).


(f) The following material is available for purchase from the American Petroleum Institute (API), 1220 L Street NW,
Washington DC 20005:


    (1) [Reserved]


    (2) API 12B (May 1958) Specification for Bolted Production Tanks, 11th Ed., With Supplement No. 1, Mar. 1962, IBR
    approved for § 1910.106(b)(1)(i)(a)(3).


    (3) API 12D (Aug. 1957) Specification for Large Welded Production Tanks, 7th Ed., IBR approved for §
    1910.106(b)(1)(i)(a)(3).


    (4) API 12F (Mar. 1961) Specification for Small Welded Production Tanks, 5th Ed., IBR approved for §
    1910.106(b)(1)(i)(a)(3).


    (5) API 620, Fourth Ed. (1970) Including appendix R, Recommended Rules for Design and Construction of Large Welded
    Low Pressure Storage Tanks, IBR approved for §§ 1910.103(c)(1)(i)(a); 1910.106(b)(1)(iv)(b)(1); and 1910.111(d)(1)(ii)
    and (iii).


    (6) API 650 (1966) Welded Steel Tanks for Oil Storage, 3rd Ed., IBR approved for § 1910.106(b)(1)(iii)(a)(2).


    (7) API 1104 (1968) Standard for Welding Pipelines and Related Facilities, IBR approved for § 1910.252(d)(1)(v).


    (8) API 2000 (1968) Venting Atmospheric and Low Pressure Storage Tanks, IBR approved for § 1910.106(b)(2)(iv)(b)(1).




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    (9) API 2201 (1963) Welding or Hot Tapping on Equipment Containing Flammables, IBR approved for §
    1910.252(d)(1)(vi).


(g) The following material is available for purchase from the American Society of Mechanical Engineers (ASME), United
Engineering Center, 345 East 47th Street, New York, NY 10017:


    (1) ASME Boiler and Pressure Vessel Code, Sec. VIII, 1949, 1950, 1952, 1956, 1959, and 1962 Ed., IBR approved for §§
    1910.110(b)(10)(iii) (Table H–26), (d)(2) (Table H–31); (e)(3)(i) (Table H–32), (h)(2) (Table H–34); and
    1910.111(b)(2)(vi);


    (2) ASME Code for Pressure Vessels, 1968 Ed., IBR approved for §§ 1910.106(i)(3)(i); 1910.110(g)(2)(iii)(b)(2); and
    1910.217(b)(12);


    (3) ASME Boiler and Pressure Vessel Code, Sec. VIII, 1968, IBR approved for §§ 1910.103; 1910.104(b)(4)(ii);
    1910.106(b)(1)(iv)(b)(2) and (i)(3)(ii); 1910.107; 1910.110(b)(11)(i)(b) and (iii)(a)(1); 1910.111(b)(2)(i), (ii), and (iv);
    and 1910.169(a)(2)(i) and (ii);


    (4) ASME Boiler and Pressure Vessel Code, Sec. VIII, Paragraph UG–84, 1968, IBR approved for § 1910.104(b)(4)(ii)
    and (b)(5)(iii);


    (5) ASME Boiler and Pressure Vessel Code, Sec. VIII, Unfired Pressure Vessels, Including Addenda (1969), IBR
    approved for §§ 1910.261; 1910.262; 1910.263(i)(24)(ii);


    (6) Code for Unfired Pressure Vessels for Petroleum Liquids and Gases of the API and the ASME, 1951 Ed., IBR approved
    for § 1910.110(b)(3)(iii); and


    (7) ASME B56.6–1992 (with addenda), Safety Standard for Rough Terrain Forklift Trucks, IBR approved for §
    1910.266(f)(4).


(h) Copies of the standards listed below in this paragraph (h) are available for purchase from ASTM International, 100 Barr
Harbor Drive, P.O. Box C700, West Conshohocken, PA 19428–2959; Telephone: 610–832–9585; Fax: 610–832–9555; Email:
seviceastm.org; Web site: http://www.astm.org. Copies of historical standards or standards that ASTM does not have may be
purchased from Information Handling Services, Global Engineering Documents, 15 Inverness Way East, Englewood, CO
80112; Telephone: 1–800–854–7179; Email: global@ihs.com; Web sites: http://global.ihs.com or http://www.store.ihs.com.


    (1) ASTM A 47–68, Malleable Iron Castings, IBR approved for § 1910.111.


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    (2) ASTM A 53–69, Welded and Seamless Steel Pipe, IBR approved for §§ 1910.110 and 1910.111.


    (3) ASTM A 126–66, Gray Iron Casting for Valves, Flanges and Pipe Fitting, IBR approved for § 1910.111.


    (4) ASTM A 391–65 (ANSI G61.1–1968), Alloy Steel Chain, IBR approved for § 1910.184.


    (5) ASTM A 395–68, Ductile Iron for Use at Elevated Temperatures, IBR approved for § 1910.111.


    (6) ASTM B 88–66A, Seamless Copper Water Tube, IBR approved for § 1910.252.


    (7) ASTM B 88–69, Seamless Copper Water Tube, IBR approved for § 1910.110.


    (8) [Reserved by 81 FR 82981]


    (9) ASTM B 210–68, Aluminum–Alloy Drawn Seamless Tubes, IBR approved for § 1910.110.


    (10) ASTM B 241–69, Standard Specifications for Aluminum–Alloy Seamless Pipe and Seamless Extruded Tube, IBR
    approved for § 1910.110.


    (11) ASTM D 5–65, Test for Penetration by Bituminous Materials, IBR approved for § 1910.106.


    (12) ASTM D 56–70, Test for Flash Point by Tag Closed Tester, IBR approved for § 1910.106.


    (13) ASTM D 56–05, Standard Test Method for Flash Point by Tag Closed Cup Tester, Approved May 1, 2005, IBR
    approved for Appendix B to § 1910.1200.


    (14) ASTM D 86–62, Test for Distillation of Petroleum Products, IBR approved for §§ 1910.106 and 1910.119.


    (15) ASTM D 86–07a, Standard Test Method for Distillation of Petroleum Products at Atmospheric Pressure, Approved
    April 1, 2007, IBR approved for Appendix B to § 1910.1200.


    (16) ASTM D 88–56, Test for Saybolt Viscosity, IBR approved for § 1910.106.



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    (17) ASTM D 93–71, Test for Flash Point by Pensky Martens, IBR approved for § 1910.106.


    (18) ASTM D 93–08, Standard Test Methods for Flash Point by Pensky–Martens Closed Cup Tester, Approved Oct. 15,
    2008, IBR approved for Appendix B to § 1910.1200.


    (19) ASTM D 240–02 (Reapproved 2007), Standard Test Method for Heat of Combustion of Liquid Hydrocarbon Fuels
    by Bomb Calorimeter, Approved May 1, 2007, IBR approved for Appendix B to § 1910.1200.


    (20) ASTM D 323–68, Standard Test Method of Test for Vapor Pressure of Petroleum Products (Reid Method), IBR
    approved for § 1910.106.


    (21) ASTM D 445–65, Test for Viscosity of Transparent and Opaque Liquids, IBR approved for § 1910.106.


    (22) ASTM D 1078–05, Standard Test Method for Distillation Range of Volatile Organic Liquids, Approved May 15,
    2005, IBR approved for Appendix B to § 1910.1200.


    (23) ASTM D 1692–68, Test for Flammability of Plastic Sheeting and Cellular Plastics, IBR approved for § 1910.103.


    (24) ASTM D 2161–66, Conversion Tables for SUS, IBR approved for § 1910.106.


    (25) ASTM D 3278–96 (Reapproved 2004) E1, Standard Test Methods for Flash Point of Liquids by Small Scale Closed–
    Cup Apparatus, Approved November 1, 2004, IBR approved for Appendix B to § 1910.1200.


    (26) ASTM D 3828–07a, Standard Test Methods for Flash Point by Small Scale Closed Cup Tester, Approved July 15,
    2007, IBR approved for Appendix B to § 1910.1200.


    (27) ASTM F–2412–2005, Standard Test Methods for Foot Protection, IBR approved for § 1910.136.


    (28) ASTM F–2413–2005, Standard Specification for Performance Requirements for Protective Footwear, IBR approved
    for § 1910.136.


(i) The following material is available at the American Thoracic Society (ATS), 25 Broadway, 18th Floor New York, NY
10004; website: www.atsjournals.org/.




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    (1) Spirometric Reference Values from a Sample of the General U.S. Population. Hankinson JL, Odencrantz JR, Fedan
    KB. American Journal of Respiratory and Critical Care Medicine, 159:179–187, 1999, IBR approved for § 1910.1043(h).


    (2) [Reserved]


(j) The following material is available for purchase from the American Welding Society (AWS), 550 NW, LeJeune Road, P.O.
Box 351040, Miami FL 33135:


    (1) [Reserved by 72 FR 71608]


    (2) [Reserved]


    (3) AWS B3.0–41 Standard Qualification Procedure, IBR approved for § 1910.67(c)(5)(i).


    (4) AWS D1.0–1966 Code for Welding in Building Construction, IBR approved for § 1910.27(b)(6).


    (5) AWS D2.0–69 Specifications for Welding Highway and Railway Bridges, IBR approved for § 1910.67(c)(5)(iv).


    (6) AWS D8.4–61 Recommended Practices for Automotive Welding Design, IBR approved for § 1910.67(c)(5)(ii).


    (7) AWS D10.9–69 Standard Qualification of Welding Procedures and Welders for Piping and Tubing, IBR approved for
    § 1910.67(c)(5)(iii).


(k) The following material is available for purchase from the Department of Commerce:


    (1) [Reserved by 81 FR 82981]


    (2) Publication “Model Performance Criteria for Structural Fire Fighters' Helmets,” IBR approved for § 1910.156(e)(5)(i).


(l) The following material is available for purchase from the Compressed Gas Association (CGA), 1235 Jefferson Davis
Highway, Arlington, VA 22202:


    (1) CGA C–6 (1968) Standards for Visual Inspection of Compressed Gas Cylinders, IBR approved for § 1910.101(a).


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    (2) CGA C–8 (1962) Standard for Requalification of ICC–3HT Cylinders, IBR approved for § 1910.101(a).


    (3) CGA G–1–2009 Acetylene, Twelfth Edition, IBR approved for § 1910.102(a). Copies of CGA Pamphlet G–1–2009
    are available for purchase from the: Compressed Gas Association, Inc., 4221 Walney Road, 5th Floor, Chantilly, VA
    20151; telephone: (703) 788–2700; fax: (703) 961–1831; email: cga@cganet.com.


    (4) CGA G–7.1 (1966) Commodity Specification, IBR approved for § 1910.134(d)(1).


    (5) CGA G–8.1 (1964) Standard for the Installation of Nitrous Oxide Systems at Consumer Sites, IBR approved for §
    1910.105.


    (6) CGA P–1 (1965) Safe Handling of Compressed Gases, IBR approved for § 1910.101(b).


    (7) CGA P–3 (1963) Specifications, Properties, and Recommendations for Packaging, Transportation, Storage and Use of
    Ammonium Nitrate, IBR approved for § 1910.109(i)(1)(ii)(b).


    (8) CGA S–1.1 (1963) and 1965 Addenda. Safety Release Device Standards—Cylinders for Compressed Gases, IBR
    approved for §§ 1910.101(c); 1910.103(c)(1)(iv)(a)(2).


    (9) CGA S–1.2 (1963) Safety Release Device Standards, Cargo and Portable Tanks for Compressed Gases, IBR approved
    for §§ 1910.101(c); 1910.103(c)(1)(iv)(a)(2).


    (10) CGA S–1.3 (1959) Safety Release Device Standards–Compressed Gas Storage Containers, IBR approved for §§
    1910.103(c)(1)(iv)(a)(2); 1910.104(b)(6)(iii); and 1910.111(d)(4)(ii)(b).


    (11) CGA 1957 Standard Hose Connection Standard, IBR approved for § 1910.253(e)(4)(v) and (5)(iii).


    (12) CGA and RMA (Rubber Manufacturer's Association) Specification for Rubber Welding Hose (1958), IBR approved
    for § 1910.253(e)(5)(i).


    (13) CGA 1958 Regulator Connection Standard, IBR approved for § 1910.253(e)(4)(iv) and (6).


(m) The following material is available for purchase from the Crane Manufacturer's Association of America, Inc. (CMAA), 1
Thomas Circle NW, Washington DC 20005:



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    (1) CMAA Specification 1B61, Specifications for Electric Overhead Traveling Cranes, IBR approved for §
    1910.179(b)(6)(i).


    (2) [Reserved]


(n) The following material is available for purchase from the General Services Administration:


    (1) GSA Pub. GG–B–0067b, Air Compressed for Breathing Purposes, or Interim Federal Specifications, Apr. 1965, IBR
    approved for § 1910.134(d)(4).


    (2) [Reserved]


(o) The following material is available for purchase from the Department of Health and Human Services:


    (1) Publication No. 76–120 (1975), List of Personal Hearing Protectors and Attenuation Data, IBR approved for § 1910.95
    App. B.


    (2) [Reserved]


(p) The following material is available for purchase from the Institute of Makers of Explosives (IME), 420 Lexington Avenue,
New York, NY 10017:


    (1) IME Pamphlet No. 17, 1960, Safety in the Handling and Use of Explosives, IBR approved for §§ 1910.261(a)(4)(iii)
    and (c)(14)(ii).


    (2) [Reserved]


(q) The following material is available from the International Labour Organization (ILO), 4 route des Morillons, CH–1211
Genève 22, Switzerland; telephone: +41 (0) 22 799 6111; fax: +41 (0) 22 798 8685; website: www.ilo.org/.


    (1) Guidelines for the Use of the ILO International Classification of Radiographs of Pneumoconioses, Revised Edition
    2011, Occupational safety and health series; 22 (Rev.2011), IBR approved for § 1910.1001.


    (2) [Reserved]


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(r)(1) The following materials are available for purchase from the International Standards Organization (ISO) through ANSI,
25 West 43rd Street, Fourth Floor, New York, NY 10036–7417; Telephone: 212–642–4980; Fax: 212–302–1286; Email:
info@ansi.org; Web site: http://www.ansi.org.


    (2) Documents not available in the ANSI store may be purchased from:


    (i) Document Center Inc., 111 Industrial Road, Suite 9, Belmont, 94002; Telephone: 650–591–7600; Fax: 650–591–7617;
    Email: info@document-center.com; Web site: www.document-center.com.


    (ii) DECO—Document Engineering Co., Inc., 15210 Stagg Street, Van Nuys, CA 91405; Telephone: 800–645–7732 or
    818–782–1010; Fax: 818–782–2374; Email: doceng@doceng.com; Web site: www.doceng.com


    (iii) Global Engineering Documents, 15 Inverness Way East, Englewood, CO 80112; Telephone: 1–800–854–7179 or
    303–397–7956; Fax: 303–397–2740; Email: global@ihs.com; Web sites: http://global.ihs.com or
    http://www.store.ihs.com;


    (iv) ILI Infodisk, Inc., 610 Winters Avenue, Paramus, NJ 07652; Telephone: 201–986–1131; Fax: 201–986–7886; Email:
    sales@ili-info.com; Web site: www.ili-info.com.


    (v) Techstreet, a business of Thomson Reuters, 3916 Ranchero Drive, Ann Arbor, MI 48108; Telephone: 800–699–9277
    or 734–780–8000; Fax: 734–780–2046; Email: techstreet.service@thomsonreuters.com; Web site: www.Techstreet.com.


    (3) ISO 10156:1996 (E), Gases and Gas Mixtures—Determination of Fire Potential and Oxidizing Ability for the Selection
    of Cylinder Valve Outlets, Second Edition, Feb. 15, 1996, IBR approved for Appendix B to § 1910.1200.


    (4) ISO 10156–2:2005 (E), Gas cylinders—Gases and Gas Mixtures—Part 2: Determination of Oxidizing Ability of Toxic
    and Corrosive Gases and Gas Mixtures, First Edition, Aug. 1, 2005, IBR approved for Appendix B to § 1910.1200.


    (5) ISO 13943:2000 (E/F), Fire Safety—Vocabulary, First Edition, April, 15, 2000, IBR approved for Appendix B to §
    1910.1200.


(s) The following material is available for purchase from the National Electrical Manufacturer's Association (NEMA):


    (1) NEMA EW–1 (1962) Requirements for Electric Arc Welding Apparatus, IBR approved for §§ 1910.254(b)(1).




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    (2) [Reserved]


(t) The following material is available for purchase from the National Fire Protection Association (NFPA), 1 Batterymarch
Park, Quincy, MA 02269; Telephone: 800–344–3555 or 617–770–3000; Fax: 1–800–593–6372 or 1–508–895–8301; Email:
custserv@nfpa.org; Web site: http://www.nfpa.org.


    (1) NFPA 30 (1969) Flammable and Combustible Liquids Code, IBR approved for § 1910.178(f)(1).


    (2) NFPA 32–1970 Standard for Dry Cleaning Plants, IBR approved for § 1910.106(j)(6)(i).


    (3) NFPA 33–1969 Standard for Spray Finishing Using Flammable and Combustible Material, IBR approved for §
    1910.94(c)(2).


    (4) NFPA 34–1966 Standard for Dip Tanks Containing Flammable or Combustible Liquids, IBR approved for §
    1910.124(b)(4)(iv).


    (5) NFPA 34–1995 Standard for Dip Tanks Containing Flammable or Combustible Liquids, IBR approved for §
    1910.124(b)(4)(ii).


    (6) NFPA 35–1970 Standard for the Manufacture of Organic Coatings, IBR approved for § 1910.106(j)(6)(ii).


    (7) NFPA 36–1967 Standard for Solvent Extraction Plants, IBR approved for § 1910.106(j)(6)(iii).


    (8) NFPA 37–1970 Standard for the Installation and Use of Stationary Combustion Engines and Gas Turbines, IBR
    approved for §§ 1910.106(j)(6)(iv) and 1910.110(b)(20)(iv)(c) and (e)(11).


    (9) NFPA 51B–1962 Standard for Fire Protection in Use of Cutting and Welding Processes, IBR approved for §
    1910.252(a)(1) introductory text.


    (10) NFPA 54–1969 Standard for the Installation of Gas Appliances and Gas Piping, IBR approved for §
    1910.110(b)(20)(iv)(a).


    (11) NFPA 54A–1969 Standard for the Installation of Gas Piping and Gas Equipment on Industrial Premises and Certain
    Other Premises, IBR approved for § 1910.110(b)(20)(iv)(b).



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    (12) NFPA 58–1969 Standard for the Storage and Handling of Liquefied Petroleum Gases (ANSI Z106.1–1970), IBR
    approved for §§ 1910.110(b)(3)(iv) and (i)(3)(i) and (ii); and 1910.178(f)(2).


    (13) NFPA 59–1968 Standard for the Storage and Handling of Liquefied Petroleum Gases at Utility Gas Plants, IBR
    approved for §§ 1910.110(b)(3)(iv) and (i)(2)(iv).


    (14) NFPA 62–1967 Standard for the Prevention of Dust Explosions in the Production, Packaging, and Handling of
    Pulverized Sugar and Cocoa, IBR approved for § 1910.263(k)(2)(i).


    (15) NFPA 68–1954 Guide for Explosion Venting, IBR approved for § 1910.94(a)(2)(iii).


    (16) [Reserved]


    (17) NFPA 78–1968 Lightning Protection Code, IBR approved for § 1910.109(i)(6)(ii).


    (18) NFPA 80–1968 Standard for Fire Doors and Windows, IBR approved for § 1910.106(d)(4)(i).


    (19) NFPA 80–1970 Standard for the Installation of Fire Doors and Windows, IBR approved for § 1910.253(f)(6)(i)(I).


    (20) NFPA 86A–1969 Standard for Oven and Furnaces Design, Location and Equipment, IBR approved for §§
    1910.107(j)(1) and (l)(3) and 1910.108(b)(2) and (d)(2).


    (21) NFPA 91–1961 Standard for the Installation of Blower and Exhaust Systems for Dust, Stock, and Vapor Removal or
    Conveying (ANSI Z33.1–61), IBR approved for § 1910.107(d)(1).


    (22) NFPA 91–1969 Standards for Blower and Exhaust Systems, IBR approved for § 1910.108(b)(1).


    (23) NFPA 96–1970 Standard for the Installation of Equipment for the Removal of Smoke and Grease Laden Vapors from
    Commercial Cooking Equipment, IBR approved for § 1910.110(b)(20)(iv)(d).


    (24) NFPA 101–1970 Code for Life Safety From Fire in Buildings and Structures, IBR approved for § 1910.261(a)(4)(ii).


    (25) NFPA 101–2009, Life Safety Code, 2009 edition, IBR approved for §§ 1910.34, 1910.35, 1910.36, and 1910.37.



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    (26) NFPA 203M–1970 Manual on Roof Coverings, IBR approved for § 1910.109(i)(1)(iii)(c).


    (27) NFPA 251–1969 Standard Methods of Fire Tests of Building Construction and Materials, IBR approved for §§
    1910.106(d)(3)(ii) introductory text and (d)(4)(i).


    (28) NFPA 302–1968 Fire Protection Standard for Motor–Craft (Pleasure and Commercial), IBR approved for §
    1910.265(d)(2)(iv) introductory text.


    (29) NFPA 385–1966 Recommended Regulatory Standard for Tank Vehicles for Flammable and Combustible Liquids,
    IBR approved for § 1910.106(g)(1)(i)(e)(1).


    (30) NFPA 496–1967 Standard for Purged Enclosures for Electrical Equipment in Hazardous Locations, IBR approved
    for § 1910.103(c)(1)(ix)(e)(1).


    (31) NFPA 505–1969 Standard for Type Designations, Areas of Use, Maintenance, and Operation of Powered Industrial
    Trucks, IBR approved for § 1910.110(e)(2)(iv).


    (32) NFPA 566–1965 Standard for the Installation of Bulk Oxygen Systems at Consumer Sites, IBR approved for §§
    1910.253(b)(4)(iv) and (c)(2)(v).


    (33) NFPA 656–1959 Code for the Prevention of Dust Ignition in Spice Grinding Plants, IBR approved for §
    1910.263(k)(2)(i).


    (34) NFPA 1971–1975 Protective Clothing for Structural Fire Fighting, IBR approved for § 1910.156(e)(3)(ii)
    introductory text.


    (35) NFPA 51A (2001) Standard for Acetylene Cylinder Charging Plants, IBR approved for § 1910.102(b) and (c). Copies
    of NFPA 51A–2001 are available for purchase from the: National Fire Protection Association, 1 Batterymarch Park,
    Quincy, MA 02169–7471; telephone: 1–800–344–35557; e-mail: custserv@nfpa.org.


    (36) NFPA 51A (2006) Standard for Acetylene Cylinder Charging Plants, IBR approved for § 1910.102(b) and (c). Copies
    of NFPA 51A–2006 are available for purchase from the: National Fire Protection Association, 1 Batterymarch Park,
    Quincy, MA 02169–7471; telephone: 1–800–344–35557; e-mail: custserv@nfpa.org.


    (37) NFPA 30B, Code for the Manufacture and Storage of Aerosol Products, 2007 Edition, Approved August 17, 2006,
    IBR approved for Appendix B to § 1910.1200.

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(u) The following material is available for purchase from the National Food Plant Institute, 1700 K St. NW., Washington, DC
20006:


    (1) Definition and Test Procedures for Ammonium Nitrate Fertilizer (Nov. 1964), IBR approved for § 1910.109 Table H–
    22, ftn. 3.


    (2) [Reserved]


(v) The following material is available for purchase from the National Institute for Occupational Safety and Health (NIOSH):


    (1) Registry of Toxic Effects of Chemical Substances, 1978, IBR approved for § 1910.1020(c)(13)(i) and appendix B.


    (2) Development of Criteria for Fire Fighters Gloves; Vol. II, part II; Test Methods, 1976, IBR approved for §
    1910.156(e)(4)(i) introductory text.


    (3) NIOSH Recommendations for Occupational Safety and Health Standards (Sept. 1987), IBR approved for § 1910.120
    PEL definition.


(w) The following material is available for purchase from the Public Health Service:


    (1) U.S. Pharmacopeia, IBR approved for § 1910.134(d)(1).


    (2) Publication No. 934 (1962), Food Service Sanitation Ordinance and Code, part V of the Food Service Sanitation
    Manual, IBR approved for § 1910.142(i)(1).


(x) The following material is available for purchase from the Society of Automotive Engineers (SAE), 485 Lexington Avenue,
New York, NY 10017:


    (1) SAE J185, June 1988, Recommended Practice for Access Systems for Off–Road Machines, IBR approved for §
    1910.266(f)(5)(i).


    (2) SAE J231, January 1981, Minimum Performance Criteria for Falling Object Protective Structure (FOPS), IBR
    approved for § 1910.266(f)(3)(ii).


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     (3) SAE J386, June 1985, Operator Restraint Systems for Off–Road Work Machines, IBR approved for §
     1910.266(d)(3)(iv).


     (4) SAE J397, April 1988, Deflection Limiting Volume–ROPS/FOPS Laboratory Evaluation, IBR approved for §
     1910.266(f)(3)(iv).


     (5) SAE 765 (1961) SAE Recommended Practice: Crane Loading Stability Test Code, IBR approved for §
     1910.180(c)(1)(iii) and (e)(2)(iii)(a).


    (6) SAE J1040, April 1988, Performance Criteria for Rollover Protective Structures (ROPS) for Construction,
    Earthmoving, Forestry and Mining Machines, IBR approved for § 1910.266(f)(3)(ii).


(y) The following material is available for purchase from the Fertilizer Institute, 1015 18th Street NW, Washington, DC 20036:


     (1) Standard M–1 (1953, 1955, 1957, 1960, 1961, 1963, 1965, 1966, 1967, 1968), Superseded by ANSI K61.1–1972, IBR
     approved for § 1910.111(b)(1)(i) and (iii).


     (2) [Reserved]


(z) The following material is available for purchase from Underwriters Laboratories (UL), 207 East Ohio Street, Chicago, IL
60611:


    (1) UL 58–61 Steel Underground Tanks for Flammable and Combustible Liquids, 5th Ed., IBR approved for §
    1910.106(b)(1)(iii)(a)(1).


     (2) UL 80–63 Steel Inside Tanks for Oil–Burner Fuel, IBR approved for § 1910.106(b)(1)(iii)(a)(1).


     (3) UL 142–68 Steel Above Ground Tanks for Flammable and Combustible Liquids, IBR approved for §
     1910.106(b)(1)(iii)(a)(1).


(aa) The following material is available for purchase from the: International Code Council, Chicago District Office, 4051 W.
Flossmoor Rd., Country Club Hills, IL 60478; telephone: 708–799–2300, x3–3801; facsimile: 001–708–799–4981; e-mail:
order@iccsafe.org.


     (1) IFC–2009, International Fire Code, copyright 2009, IBR approved for §§ 1910.34, 1910.35, 1910.36, and 1910.37.

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§ 1910.6 Incorporation by reference., 29 C.F.R. § 1910.6




    (2) [Reserved]




(bb)(1) The following document is available for purchase from United Nations Publications, Customer Service, c/o National
Book Network, 15200 NBN Way, PO Box 190, Blue Ridge Summit, PA 17214; telephone: 1–888–254–4286; fax: 1–800–
338–4550; email: unpublications@nbnbooks.com. Other distributors of United Nations Publications include:


    (i) Bernan, 15200 NBN Way, Blue Ridge Summit, PA 17214; telephone: 1–800–865–3457; fax: 1–800–865–3450; email:
    customercare@bernan; Web site: http://www.bernan.com; and


    (ii) Renouf Publishing Co. Ltd., 812 Proctor Avenue, Ogdensburg, NY 13669–2205; telephone: 1–888–551–7470; Fax:
    1–888–551–7471; email: orders@renoufbooks.com; Web site: http://www.renoufbooks.com.


    (2) UN ST/SG/AC.10/Rev.4, The UN Recommendations on the Transport of Dangerous Goods, Manual of Tests and
    Criteria, Fourth Revised Edition, 2003, IBR approved for appendix B to § 1910.1200.


Credits
[39 FR 23502, June 27, 1974; 49 FR 5321, Feb. 10, 1984; 61 FR 9231, March 7, 1996; 64 FR 13908, March 23, 1999; 69 FR
18803, April 9, 2004; 69 FR 68717, Nov. 24, 2004; 70 FR 8291, Feb. 18, 2005; 70 FR 53929, Sept. 13, 2005; 72 FR 7190,
Feb. 14, 2007; 72 FR 71068, Dec. 14, 2007; 73 FR 13754, March 14, 2008; 74 FR 40447, Aug. 11, 2009; 74 FR 46355, Sept.
9, 2009; 74 FR 57883, Nov. 10, 2009; 76 FR 33606, June 8, 2011; 76 FR 75786, Dec. 5, 2011; 77 FR 13969, March 8, 2012;
77 FR 17764, March 26, 2012; 77 FR 37598, June 22, 2012; 77 FR 62433, Oct. 15, 2012; 77 FR 68684, Nov. 16, 2012; 78 FR
35565, June 13, 2013; 78 FR 66641, Nov. 6, 2013; 78 FR 66642, Nov. 6, 2013; 81 FR 16090, March 25, 2016; 81 FR 82981,
Nov. 18, 2016; 84 FR 21457, May 14, 2019]


SOURCE: 39 FR 23502, June 27, 1974; 53 FR 12120, April 12, 1988; 58 FR 35308, June 30, 1993; 61 FR 9230, March 7,
1996; 62 FR 29668, June 2, 1997; 64 FR 13908, March 23, 1999; 65 FR 46818, July 31, 2000; 69 FR 68716, Nov. 24, 2004;
70 FR 8291, Feb. 18, 2005; 70 FR 53929, Sept. 13, 2005; 71 FR 38086, July 5, 2006; 72 FR 7190, Feb. 14, 2007; 72 FR 40074,

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July 23, 2007; 72 FR 71068, Dec. 14, 2007; 73 FR 13754, March 14, 2008; 73 FR 75583, Dec. 12, 2008; 74 FR 40447, Aug.
11, 2009; 74 FR 46355, Sept. 9, 2009; 75 FR 12685, March 17, 2010; 76 FR 10515, Feb. 25, 2011; 77 FR 17764, March 26,
2012; 77 FR 37598, June 22, 2012; 77 FR 68684, Nov. 16, 2012; 79 FR 21848, April 18, 2014; 82 FR 31253, July 6, 2017,
unless otherwise noted.


AUTHORITY: 29 U.S.C. 653, 655, 657; Secretary of Labor's Order Numbers 12–71 (36 FR 8754), 8–76 (41 FR 25059), 9–83
(48 FR 35736),1–90 (55 FR 9033), 6–96 (62 FR 111), 3–2000 (65 FR 50017), 5–2002 (67 FR 65008), 5–2007 (72 FR 31159),
4–2010 (75 FR 55355), or 1–2012 (77 FR 3912), as applicable.; Sections 1910.6, 1910.7, 1910.8 and 1910.9 also issued under
29 CFR 1911. Section 1910.7(f) also issued under 31 U.S.C. 9701; 29 U.S.C. 9a; 5 U.S.C. 553; Public Law 106–113 (113 Stat.
1501A–222); Public Law 11–8 and 111–317; and OMB Circular A–25 (dated July 8, 1993) (58 FR 38142, July 15, 1993).



Notes of Decisions (1)

Current through Nov. 30, 2022, 87 FR 73506.Some sections may be more current. See credits for details.

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§ 658. Citations, 29 USCA § 658




   KeyCite Yellow Flag - Negative Treatment
Proposed Legislation

 United States Code Annotated
  Title 29. Labor
      Chapter 15. Occupational Safety and Health (Refs & Annos)

                                                        29 U.S.C.A. § 658

                                                         § 658. Citations

                                                              Currentness




(a) Authority to issue; grounds; contents; notice in lieu of citation for de minimis violations

If, upon inspection or investigation, the Secretary or his authorized representative believes that an employer has violated a
requirement of section 654 of this title, of any standard, rule or order promulgated pursuant to section 655 of this title, or of
any regulations prescribed pursuant to this chapter, he shall with reasonable promptness issue a citation to the employer. Each
citation shall be in writing and shall describe with particularity the nature of the violation, including a reference to the provision
of the chapter, standard, rule, regulation, or order alleged to have been violated. In addition, the citation shall fix a reasonable
time for the abatement of the violation. The Secretary may prescribe procedures for the issuance of a notice in lieu of a citation
with respect to de minimis violations which have no direct or immediate relationship to safety or health.


(b) Posting

Each citation issued under this section, or a copy or copies thereof, shall be prominently posted, as prescribed in regulations
issued by the Secretary, at or near each place a violation referred to in the citation occurred.


(c) Time for issuance

No citation may be issued under this section after the expiration of six months following the occurrence of any violation.


                                                             CREDIT(S)

  (Pub.L. 91-596, § 9, Dec. 29, 1970, 84 Stat. 1601.)



Notes of Decisions (66)

29 U.S.C.A. § 658, 29 USCA § 658
Current through P.L. 117-214. Some statute sections may be more current, see credits for details.

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§ 658. Citations, 29 USCA § 658




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     69A-3.012 Standards of the National Fire Protection Association and Other Standards Adopted.
     (1) Except as specifically modified by statute or by the State Fire Marshal’s rules, the “Florida Fire Prevention Code, 7th
Edition (2020),” which is comprised of the Florida specific edition of NFPA 101, the Life Safety Code® (2018 edition) and the
Florida specific edition of NFPA 1, the Fire Code (2018 edition), are hereby adopted and incorporated by reference and are
applicable to those buildings and structures specified in paragraphs (a) and (b), of subsection (1), of Section 633.206, F.S. In
addition, the following standards, except as specifically modified in the rule chapters in rule Division 69A, are hereby adopted and
incorporated by reference and shall take effect on the effective date of this rule, as a part of the uniform fire safety standards adopted
by rule by the State Fire Marshal and are applicable to those buildings and structures specified in Sections 633.206(1)(a) and (b),
F.S.:
     (a) NFPA 2, 2016 edition, Hydrogen Technologies Code.
     (b) NFPA 4, 2018 edition, Standard for Integrated Fire Protection and Life Safety System Testing.
     (c) NFPA 10, 2018 edition, Standard for Portable Fire Extinguishers.
     (d) NFPA 11, 2016 edition, Standard for Low-, Medium-, and High- Expansion Foam.
     (e) NFPA 12, 2015 edition, Standard on Carbon Dioxide Extinguishing Systems.
     (f) NFPA 12A, 2015 edition, Standard on Halon 1301 Fire Extinguishing Systems.
     (g) NFPA 13, 2016 edition, Standard for the Installation of Sprinkler Systems.
     (h) NFPA 13D, 2016 edition, Standard for the Installation of Sprinkler Systems in One- and Two- Family Dwellings and
Manufactured Homes.
     (i) NFPA 13R, 2016 edition, Standard for the Installation of Sprinkler Systems in Low-Rise Residential Occupancies.
     (j) NFPA 14, 2016 edition, Standard for the Installation of Standpipe and Hose Systems.
     (k) NFPA 15, 2017 edition, Standard for Water Spray Fixed Systems for Fire Protection.
     (l) NFPA 16, 2015 edition, Standard for the Installation of Foam-Water Sprinkler and Foam-Water Spray Systems.
     (m) NFPA 17, 2017 edition, Standard for Dry Chemical Extinguishing Systems.
     (n) NFPA 17A, 2017 edition, Standard for Wet Chemical Extinguishing Systems.
     (o) NFPA 20, 2016 edition, Standard for the Installation of Stationary Pumps for Fire Protection.
     (p) NFPA 22, 2013 edition, Standard for Water Tanks for Private Fire Protection.
     (q) NFPA 24, 2016 edition, Standards for the Installation of Private Fire Service Mains and Their Appurtenances.
     (r) NFPA 25, 2017 edition, Standard for the Inspection, Testing, and Maintenance of Water-Based Fire Protection Systems.
     (s) NFPA 30, 2018 edition, Flammable and Combustible Liquids Code.
     (t) NFPA 30A, 2018 edition, Code for Motor Fuel Dispensing Facilities and Repair Garages.
     (u) NFPA 30B, 2015 edition, Code for the Manufacture and Storage of Aerosol Products.
     (v) NFPA 31, 2016 edition, Standard for the Installation of Oil-Burning Equipment.
     (w) NFPA 32, 2016 edition, Standards for Drycleaning Facilities.
     (x) NFPA 33, 2016 edition, Standard for Spray Application Using Flammable or Combustible Materials.
     (y) NFPA 34, 2015 edition, Standard for Dipping, Coating, and Printing Processes Using Flammable or Combustible Liquids.
     (z) NFPA 35, 2016 edition, Standard for the Manufacture of Organic Coatings.
     (aa) NFPA 36, 2017 edition, Standard for Solvent Extraction Plants.
     (bb) NFPA 37, 2018 edition, Standard for the Installation and Use of Stationary Combustion Engines and Gas Turbines.
     (cc) NFPA 40, 2016 edition, Standard for the Storage and Handling of Cellulose Nitrate Film.
     (dd) NFPA 45, 2015 edition, Standard on Fire Protection for Laboratories Using Chemicals.
     (ee) NFPA 51, 2018 edition, Standard for the Design and Installation of Oxygen-Fuel Gas Systems for Welding, Cutting, and
Allied Processes.
     (ff) NFPA 51B, 2014 edition, Standard for Fire Prevention During Welding, Cutting, and Other Hot Work.
     (gg) NFPA 52, 2016 edition, Vehicular Natural Gas Fuel Systems Code.
     (hh) NFPA 54, 2018 edition, National Fuel Gas Code.
     (ii) NFPA 55, 2016 edition, Compressed Gasses and Cryogenic Fluids Code.
     (jj) NFPA 56, 2017 edition, Standard for Fire and Explosion Prevention During Cleaning and Purging of Flammable Gas Piping
Systems.
     (kk) NFPA 58, 2017 edition, Liquefied Petroleum Gas Code.




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    (ll) NFPA 59, 2018 edition, Utility LP-Gas Plant Code.
    (mm) NFPA 59A, 2016 edition, Standard for the Production, Storage and Handling of Liquefied Natural Gas (LNG).
    (nn) NFPA 61, 2017 edition, Standard for the Prevention of Fires and Dust Explosions in Agricultural and Food Processing
Facilities.
    (oo) NFPA 68, 2013 edition, Standard on Explosion Protection by Deflagration Venting.
    (pp) NFPA 69, 2014 edition, Standard on Explosion Prevention Systems.
    (qq) NFPA 70, 2017 edition, National Electrical Code®.
    (rr) NFPA 72, 2016 edition, National Fire Alarm and Signaling Code.
    (ss) NFPA 75, 2017 edition, Standard for the Fire Protection of Information Technology Equipment.
    (tt) NFPA 76, 2016 edition, Standard for the Fire Protection of Telecommunications Facilities.
    (uu) NFPA 80, 2016 edition, Standard for Fire Doors and Other Opening Protectives.
    (vv) NFPA 82, 2014 edition, Standard on Incinerators and Waste and Linen Handling Systems and Equipment.
    (ww) NFPA 85, 2015 edition, Boiler and Combustion Systems Hazards Code.
    (xx) NFPA 86, 2015 edition, Standard for Ovens and Furnaces.
    (yy) NFPA 88A, 2015 edition, Standard for Parking Structures.
    (zz) NFPA 90A, 2018 edition, Standard for the Installation of Air-Conditioning and Ventilating Systems.
    (aaa) NFPA 90B, 2018 edition, Standard for the Installation of Warm Air Heating and Air-Conditioning Systems.
    (bbb) NFPA 91, 2015 edition, Standard for Exhaust Systems for Air Conveying of Vapors, Gases, Mists, and Particulate Solids.
    (ccc) NFPA 92, 2015 edition, Standard for Smoke-Control Systems.
    (ddd) NFPA 96, 2017 edition, Standard for Ventilation Control and Fire Protection of Commercial Cooking Operations.
    (eee) NFPA 99, 2018 edition, Health Care Facilities Code.
    (fff) NFPA 99B, 2018 edition, Standard for Hypobaric Facilities.
    (ggg) NFPA 101, 2018 edition, Life Safety Code®.
    (hhh) NFPA 101A, 2016 edition, Guide on Alternative Approaches to Life Safety.
    (iii) NFPA 102, 2016 edition, Standard for Grandstands, Folding and Telescopic Seating, Tents, and Membrane Structures.
    (jjj) NFPA 105, 2016 edition, Standard for Smoke Door Assemblies and Other Opening Protectives.
    (kkk) NFPA 110, 2016 edition, Standard for Emergency and Standby Power Systems.
    (lll) NFPA 111, 2016 edition, Standard on Stored Electrical Energy Emergency and Standby Power Systems.
    (mmm) NFPA 115, 2016 edition, Standard for Laser Fire Protection.
    (nnn) NFPA 120, 2015 edition, Standard for Fire Prevention and Control in Coal Mines.
    (ooo) NFPA 122, 2015 edition, Standard for Fire Prevention and Control in Metal/Nonmetal Mining and Metal Mineral
Processing Facilities.
    (ppp) NFPA 130, 2017 edition, Standard for Fixed Guideway Transit and Passenger Rail Systems.
    (qqq) NFPA 140, 2013 edition, Standard on Motion Picture and Television Production Studio Soundstages, Approved
Production Facilities, and Production Locations.
    (rrr) NFPA 150, 2016 edition, Standard on Fire and Life Safety in Animal Housing Facilities.
    (sss) NFPA 160, 2016 edition, Standard for the Use of Flame Effects Before an Audience.
    (ttt) NFPA 170, 2015 edition, Standard for Fire Safety and Emergency Symbols.
    (uuu) NFPA 204, 2015 edition, Standard for Smoke and Heat Venting.
    (vvv) NFPA 211, 2016 edition, Standard for Chimneys, Fireplaces, Vents, and Solid Fuel-Burning Appliances.
    (www) NFPA 221, 2018 edition, Standard for High Challenge Fire Walls, Fire Walls, and Fire Barrier Walls.
    (xxx) NFPA 232, 2017 edition, Standard for the Protection of Records.
    (yyy) NFPA 241, 2013 edition, Standard for Safeguarding Construction, Alteration and Demolition Operations.
    (zzz) NFPA 251, 2006 edition, Standard Methods of Tests of Fire Resistance of Building Construction and Materials.
    (aaaa) NFPA 252, 2017 edition, Standard Methods of Fire Tests of Door Assemblies.
    (bbbb) NFPA 253, 2015 edition, Standard Method of Test for Critical Radiant Flux of Floor Covering Systems Using a Radiant
Heat Energy Source.
    (cccc) NFPA 257, 2017 edition, Standard on Fire Test for Window and Glass Block Assemblies.
    (dddd) NFPA 259, 2013 edition, Standard Test Method for Potential Heat of Building Materials.




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    (eeee) NFPA 260, 2013 edition, Standard Methods of Tests and Classification System for Cigarette Ignition Resistance of
Components of Upholstered Furniture.
    (ffff) NFPA 261, 2013 edition, Standard Method of Test for Determining Resistance of Mock-Up Upholstered Furniture
Material Assemblies to Ignition by Smoldering Cigarettes.
    (gggg) NFPA 265, 2015 edition, Standard Methods of Fire Tests for Evaluating Room Fire Growth Contribution of Textile or
Expanded Vinyl Wall Coverings on Full Height Panels and Walls.
    (hhhh) NFPA 286, 2015 edition, Standard Methods of Fire Test for Evaluating Contribution of Wall and Ceiling Interior Finish
to Room Fire Growth.
    (iiii) NFPA 288, 2017 edition, Standard Methods of Fire Tests of Horizontal Fire Door Assemblies Installed in Horizontal Fire
Resistance-Rated Assemblies.
    (jjjj) NFPA 289, 2013 edition, Standard Method of Fire Test for Individual Fuel Packages.
    (kkkk) NFPA 301, 2018 edition, Code for Safety to Life from Fire on Merchant Vessels.
    (llll) NFPA 302, 2015 edition, Fire Protection Standard for Pleasure and Commercial Motor Craft.
    (mmmm) NFPA 303, 2016 edition, Fire Protection Standards for Marinas and Boatyards.
    (nnnn) NFPA 307, 2016 edition, Standard for the Construction and Fire Protection of Marine Terminals, Piers, and Wharves.
    (oooo) NFPA 312, 2016 edition, Standard for Fire Protection of Vessels During Construction, Conversion, Repair, and Lay-Up.
    (pppp) NFPA 318, 2018 edition, Standard for the Protection of Semiconductor Fabrication Facilities.
    (qqqq) NFPA 326, 2015 edition, Standard for the Safeguarding of Tanks and Containers for Entry, Cleaning, or Repair.
    (rrrr) NFPA 385, 2017 edition, Standard for Tank Vehicles for Flammable and Combustible Liquids.
    (ssss) NFPA 400, 2016 edition, Hazardous Materials Code.
    (tttt) NFPA 403, 2018 edition, Standard for Aircraft Rescue and Fire-Fighting Services at Airports.
    (uuuu) NFPA 407, 2017 edition, Standard for Aircraft Fuel Servicing.
    (vvvv) NFPA 408, 2017 edition, Standard for Aircraft Hand Portable Fire Extinguishers.
    (wwww) NFPA 409, 2016 edition, Standard on Aircraft Hangars.
    (xxxx) NFPA 410, 2015 edition, Standard on Aircraft Maintenance.
    (yyyy) NFPA 415, 2016 edition, Standard on Airport Terminal Buildings, Fueling Ramp Drainage, and Loading Walkways.
    (zzzz) NFPA 418, 2016 edition, Standard for Heliports.
    (aaaaa) NFPA 423, 2016 edition, Standard for Construction and Protection of Aircraft Engine Test Facilities.
    (bbbbb) NFPA 484, 2015 edition, Standard for Combustible Metals.
    (ccccc) NFPA 495, 2013 edition, Explosive Materials Code.
    (ddddd) NFPA 498, 2013 edition, Standard for Safe Havens and Interchange Lots for Vehicles Transporting Explosives.
    (eeeee) NFPA 501, 2017 edition, Standard on Manufactured Housing.
    (fffff) NFPA 501A, 2017 edition, Standard for Fire Safety Criteria for Manufactured Home Installations, Sites, and
Communities.
    (ggggg) NFPA 502, 2017 edition, Standard for Road Tunnels, Bridges, and Other Limited Access Highways.
    (hhhhh) NFPA 505, 2013 edition, Fire Safety Standard for Powered Industrial Trucks Including Type Designations, Areas of
Use, Conversions, Maintenance, and Operations.
    (iiiii) NFPA 601, 2015 edition, Standard for Security Services in Fire Loss Prevention.
    (jjjjj) NFPA 652, 2016 edition, Standard on the Fundamentals of Combustible Dust.
    (kkkkk) NFPA 654, 2013 edition, Standard for the Prevention of Fire and Dust Explosions from the Manufacturing, Processing,
and Handling of Combustible Particulate Solids.
    (lllll) NFPA 655, 2017 edition, Standard for Prevention of Sulfur Fires and Explosions.
    (mmmmm) NFPA 664, 2017 edition, Standard for the Prevention of Fires and Explosions in Wood Processing and
Woodworking Facilities.
    (nnnnn) NFPA 701, 2015 edition, Standard Methods of Fire Tests for Flame Propagation of Textiles and Films.
    (ooooo) NFPA 703, 2018 edition, Standard for Fire Retardant-Treated Wood and Fire-Retardant Coatings for Building
Materials.
    (ppppp) NFPA 704, 2017 edition, Standard System for the Identification of the Hazards of Materials for Emergency Response.
    (qqqqq) NFPA 720, 2015 edition, Standard for the Installation of Carbon Monoxide (CO) Detection and Warning Equipment.




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     (rrrrr) NFPA 731, 2017 edition, Standard for the Installation of Electronic Premises Security Systems.
     (sssss) NFPA 750, 2015 edition, Standard on Water Mist Fire Protection Systems.
     (ttttt) NFPA 780, 2017 edition, Standard for the Installation of Lightning Protection Systems.
     (uuuuu) NFPA 801, 2014 edition, Standard for Fire Protection for Facilities Handling Radioactive Materials.
     (vvvvv) NFPA 804, 2015 edition, Standard for Fire Protection for Advanced Light Water Reactor Electric Generating Plants.
     (wwwww) NFPA 805, 2015 edition, Performance-Based Standard for Fire Protection for Light Water Reactor Electric
Generating Plants.
     (xxxxx) NFPA 820, 2016 edition, Standard for Fire Protection in Wastewater Treatment and Collection Facilities.
     (yyyyy) NFPA 909, 2017 edition, Code for the Protection of Cultural Resource Properties – Museums, Libraries, and Places of
Worship.
     (zzzzz) NFPA 914, 2015 edition, Code for Fire Protection of Historic Structures.
     (aaaaaa) NFPA 1122, 2018 edition, Code for Model Rocketry.
     (bbbbbb) NFPA 1123, 1995 edition, Code for Fireworks Display.
     (cccccc) NFPA 1124, 2017 edition, Code for the Manufacture, Transportation, and Storage of Fireworks and Pyrotechnic
Articles.
     (dddddd) NFPA 1125, 2017 edition, Code for the Manufacture of Model Rocket and High-Power Rocket Motors.
     (eeeeee) NFPA 1126, 2016 edition, Standard for the Use of Pyrotechnics Before a Proximate Audience.
     (ffffff) NFPA 1127, 2018 edition, Code for High Power Rocketry.
     (gggggg) NFPA 1141, 2017 edition, Standard for Fire Protection Infrastructure for Land Development in Wildland, Rural, and
Suburban Areas.
     (hhhhhh) NFPA 1142, 2017 edition, Standard on Water Supplies for Suburban and Rural Fire Fighting.
     (iiiiii) NFPA 1144, 2018 edition, Standard for Reducing Structure Ignition Hazards from Wildland Fire.
     (jjjjjj) NFPA 1192, 2018 edition, Standard on Recreational Vehicles.
     (kkkkkk) NFPA 1194, 2018 edition, Standard for Recreational Vehicle Parks and Campgrounds.
     (llllll) NFPA 1221, 2016 edition, Standard for the Installation, Maintenance, and Use of Emergency Services Communications
Systems.
     (mmmmmm) NFPA 1730, 2016 edition, Standard on Organization and Deployment of Fire Prevention Inspection and Code
Enforcement, Plan Review, Investigation, and Public Education Operations.
     (nnnnnn) NFPA 1901, 2016 edition, Standard for Automotive Fire Apparatus.
     (oooooo) NFPA 1906, 2016 edition, Standard for Wildland Fire Apparatus.
     (pppppp) NFPA 1925, 2013 edition, Standard on Marine Fire-Fighting Vessels.
     (qqqqqq) NFPA 1963, 2014 edition, Standard for Fire Hose Connections.
     (rrrrrr) NFPA 2001, 2015 edition, Standard on Clean Agent Fire Extinguishing Systems.
     (ssssss) NFPA 2010, 2015 edition, Standard for Fixed Aerosol Fire-Extinguishing Systems.
     (tttttt) NFPA 2113, 2015 edition, Standard on Selection, Care, Use, and Maintennce of Flame-Resistant Garments for Protection
of Industrial Personnel Against Short-Duration Thermal Exposures from Fire.
     (2) All buildings, structures, establishments, facilities, equipment, or vehicular equipment over which the State Fire Marshal has
jurisdiction which are constructed, renovated, expanded, rehabilitated, or in any other way significantly altered on or after the
effective date of the adoption of the codes and standards adopted in subsection (1), above, shall conform to the requirements of the
codes, standards, recommended practices, and manuals contained therein, unless the structure, establishment, or facility has been
exempted from complying because the building, structure, establishment, facility, equipment, or vehicular equipment has been
granted an exemption from compliance by act of the Legislature.
     (3) All buildings, structures, establishments, facilities, equipment, or vehicular equipment over which the State Fire Marshal has
jurisdiction which are in existence on or after the effective date of the adoption of the codes and standards adopted in subsection (1),
above, shall conform to the requirements of those codes and standards within a reasonable period of time. It is understood that the
correction of some fire safety violations will necessitate the employment of design professionals while other violations can be
expeditiously resolved. “Within a reasonable time” is defined as the amount of time it would normally take to correct a specific fire
code violation under the assumption that the property owner would begin to correct said violations upon receipt of an official
document from the enforcing agency.




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     (4)(a) The NFPA standards referenced in subsection (1) are copyrighted materials that cannot be copied but may be:
     1. Obtained by contacting the NFPA at 1 Batterymarch Park, Quincy, Massachusetts 02169-7471; Phone 1(800)344-3555;
Website www.nfpa.org.; or
     2. Accessed in a read-only, non-printable, non-downloadable format at the NFPA’s website at https://www.nfpa.org/Codes-and-
Standards/All-Codes-and-Standards/Free-access.
     (b) The copyrighted NFPA standards referenced in subsection (1) may be viewed, during regular business hours, at the offices
of:
     1. The Division of State Fire Marshal, 325 John Knox Road, Third Floor, Atrium Building, Tallahassee, Florida 32303; or
     2. The Florida Administrative Code and Register, R.A. Gray Building, 500 South Bronough Street, Tallahassee, Florida 32399-
0250.
     (c) The Florida Fire Prevention Code, the Florida specific edition of NFPA 101, the Life Safety Code®, and the Florida specific
edition of NFPA 1, the Fire Code, referenced in subsection (1) are copyrighted materials that cannot be copied but may be:
     1. Obtained by contacting the NFPA at 1 Batterymarch Park, Quincy, Massachusetts 02169-7471; Phone 1(800)344-3555;
Website www.nfpa.org.; or
     2.Accessed in a read-only, non-printable, non-downloadable format at the Division of State Fire Marshal website at:
https://www.myfloridacfo.com/Division/SFM/BFP/FloridaFirePreventionCodePage.htm.; or
     3. Viewed during regular business hours at the Division of State Fire Marshal, 325 John Knox Road, The Atrium, Third Floor,
Tallahassee, Florida 32399-0322; or
     4.Viewed during regular business hours at the Florida Administrative Code and Register, R.A. Gray Building, 500 South
Bronough Street, Tallahassee, Florida 32399-0250.
     (5) The Code of Federal Regulations and the Compressed Gas Association (CGA) documents incorporated by reference in this
rule are available for public inspection during regular business hours at the Division currently located on the Third Floor (Room
326) of the Atrium Building, 325 John Knox Road, Tallahassee, Florida.
     (6) Notice required for structures with light-frame truss-type construction.
Purpose: The purpose of this rule is to require the placement of an identifying symbol on structures constructed with a light-frame
truss component in a manner sufficient to warn persons conducting fire control and other emergency operations of the existence of
light-frame truss-type construction in the structure.
     (a) Definitions.
     1. “Light-frame truss-type construction” means a type of construction whose primary structural elements are formed by a
system of repetitive wood or light gauge steel framing members.
     2. “Approved symbol” means a Maltese Cross measuring 8 inches horizontally and 8 inches vertically, of a bright red reflective
color, designed in accordance with Figure 1.
     (b) Any commercial, industrial, or any multiunit residential structure of three units or more which uses horizontal or vertical
light-frame truss-type construction in any portion shall be marked with an approved symbol. Townhouses are not multiunit
residential structures and therefore not subject to this rule. Each approved symbol shall include within the center circle one of the
following designations:
     1. Structures with light-frame truss roofs shall be marked with the letter “R.”
     2. Structures with light-frame truss floor systems shall be marked with the letter “F.”
     3. Structures with light-frame truss floor and roof systems shall be marked with the letters “R/F.”
     (c) The approved symbol shall be placed within 24 inches to the left of the main entry door and:
     1. Be permanently attached to the face of the structure on a contrasting background, or
     2. Be mounted on a contrasting base material which is then permanently attached to the face of the structure.
     (d) The distance above the grade, walking surface or the finished floor to the bottom of the symbol shall be not less than 4 feet
(48 inches).
     (e) The distance above the grade, walking surface or the finished floor to the top of the symbol shall be not more than 6 feet (72
inches).
     (7) In single tenant structures with multiple main entry doors, such as big box retail stores, department stores and grocery stores,
the authority having jurisdiction is authorized to require that other main entry doors of the structure be marked with an approved
symbol to carry out the purpose in subsection (6), above.




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     (8) In multiple tenant structures and covered malls with multiple main entry doors, the authority having jurisdiction is
authorized to require that other main entry doors be marked with an approved symbol to carry out the purpose in subsection (6),
above. In such structures, approved symbols shall be marked on one side only and spaced not closer than 100 feet or at each end of
the structure when such structure is less than 100 feet in length.
     (9) The owner of each new structure required to comply with this section shall mark the structure with the approved symbol
prior to receiving a certificate of occupancy.
     (10) The owner of each existing structure required to comply with this section shall mark the structure with the approved
symbol within 90 days of the effective date of this rule section.
     (11) Where the owner of the structure and the authority having jurisdiction disagree as to the use of light-frame truss-type
construction within the structure, the owner shall be granted not more than 45 days to provide written verification from a licensed
engineer or licensed architect; otherwise the owner shall comply with the rule.
Figure 1:
Approved Symbol




Light-frame “Roof” only




Light- frame “Floor” only




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Light- frame “Floor & Roof”


Rulemaking Authority 633.104(1), 633.202, 633.206, 633.222 FS. Law Implemented 633.104(1), 633.202, 633.206, 633.222, 791.012 FS. History–
New 5-14-86, Amended 2-12-87, 4-8-90, 10-30-91, 4-3-95, 11-27-01, Formerly 4A-3.012, Amended 8-7-05, 5-18-08, 12-31-08, 12-13-09, 12-31-
11, 12-31-14, 12-31-17, 12-31-20.




                                                             ADD-033
12/5/22, 3:20 PM                                          Chapter 633 Section 022 - 2005 Florida Statutes - The Florida Senate
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The Florida Senate
2005 Florida Statutes
  Title XXXVII                                        Chapter 633                                     SECTION 022
  INSURANCE                                           FIRE PREVENTION AND                             Uniform firesafety standards.
                                                      CONTROL

                                                      Entire Chapter

633.022 Uniform firesafety standards.--The Legislature hereby determines that to protect the
public health, safety, and welfare it is necessary to provide for firesafety standards governing the
construction and utilization of certain buildings and structures. The Legislature further determines
that certain buildings or structures, due to their specialized use or to the special characteristics of
the person utilizing or occupying these buildings or structures, should be subject to firesafety
standards reflecting these special needs as may be appropriate.

(1) The department shall establish uniform firesafety standards that apply to:

(a) All new, existing, and proposed state-owned and state-leased buildings.

(b) All new, existing, and proposed hospitals, nursing homes, assisted living facilities, adult
family-care homes, correctional facilities, public schools, transient public lodging establishments,
public food service establishments, elevators, migrant labor camps, mobile home parks, lodging
parks, recreational vehicle parks, recreational camps, residential and nonresidential child care
facilities, facilities for the developmentally disabled, motion picture and television special effects
productions, and self-service gasoline stations, of which standards the State Fire Marshal is the
final administrative interpreting authority.

In the event there is a dispute between the owners of the buildings specified in paragraph (b) and a
local authority requiring a more stringent uniform firesafety standard for sprinkler systems, the
State Fire Marshal shall be the final administrative interpreting authority and the State Fire
Marshal's interpretation regarding the uniform firesafety standards shall be considered final
agency action.

(2)(a) With respect to the uniform firesafety standards, the department shall develop uniform
statewide standards which are reasonably prudent with respect to protecting life, safety, and
property and which take into consideration the characteristics of the people utilizing the subject
buildings and structures and other hazards associated with the subject buildings and structures
throughout the state.

(b) A local authority may not require more stringent uniform firesafety standards with respect to
buildings or structures subject to such standards except as provided in paragraph (c). A local
authority may, on a case-by-case basis, in order to meet special situations arising from historic,
geographic, or unusual conditions, with respect to a building or structure which is subject to the
uniform firesafety standards, authorize equivalent alternative standards for such building or
structure; however, the alternative requirements shall not result in a level of protection to life,
safety, or property less stringent than the applicable uniform firesafety standards. All such local
authorities shall enforce, within their firesafety jurisdiction, the uniform firesafety standards for
those buildings specified in paragraph (1)(b) and the minimum firesafety standards adopted
pursuant to s. 394.879

(c) A local authority may require more stringent uniform firesafety standards for sprinkler
systems in buildings specified in paragraph (b), for which the construction contract is let after
January 1, 1994, if the following conditions are met:


https://www.flsenate.gov/Laws/Statutes/2005/633.022
                                                                      ADD-034                                                                    1/3
12/5/22, 3:20 PM                                      Chapter 633 Section 022 - 2005 Florida Statutes - The Florida Senate
        USCA
1. The local   Case #22-7063
             authority  has adopted,Document  #1984376
                                      by ordinance, a fire serviceFiled: 02/02/2023
                                                                   facilities            Page
                                                                              and operation    37that
                                                                                            plan  of 50
outlines goals and objectives for related equipment, personnel, and capital improvement needs of
the local authority for the next 5 years.

2. The local authority has adopted, by ordinance, a provision requiring proportionate reductions
in, or rebate or waivers of, impact or other fees or assessments levied on buildings that are built or
modified in compliance with the more stringent sprinkler standards.

3. The local authority has adopted, by ordinance, a plan that requires buildings specified in
paragraph (b) to be equipped with an automatic sprinkler system installed in compliance with the
provisions prescribed in standards as established by the National Fire Protection Association and
adopted by the State Fire Marshal.

In the event there is a dispute between the owners of the buildings specified in paragraph (b) and a
local authority requiring a more stringent uniform firesafety standard for sprinkler systems, the
State Fire Marshal shall be the final administrative interpreting authority and the State Fire
Marshal's interpretation regarding the uniform firesafety standards shall be considered final
agency action.

(3) In establishing the uniform firesafety standards and the minimum firesafety standards, as
required by s. 394.879, the department shall consider types of construction materials and their
flame spread and smoke characteristics, occupancy levels, means of egress, special hazard
protection, smoke barriers, interior finish, and fire protection systems or equipment and occupancy
features necessary to minimize danger to life from fire, smoke, fumes, or panic. In considering
these factors, the department shall develop minimum standards which are reasonably prudent
with respect to protecting life, safety, and property.

(4)(a) Notwithstanding any provision of law to the contrary, each nursing home licensed under
part II of chapter 400 shall be protected by an approved, supervised automatic sprinkler system in
accordance with s. 9 of National Fire Protection Association, Inc., Life Safety Code, in accordance
with the following schedule:

1. Each hazardous area of each nursing home shall be protected by an approved, supervised
automatic sprinkler system by no later than December 31, 2008.

2. Each entire nursing home shall be protected by an approved, supervised automatic sprinkler
system by no later than December 31, 2010.

(b) The division may grant up to two 1-year extensions of the time limits for compliance in
subparagraph (a)2. if the division determines that the nursing home has been prevented from
complying for reasons beyond its control.

(c) The division is authorized to adopt any rule necessary for the implementation and enforcement
of this subsection. The division shall enforce this subsection in accordance with the provisions of
this chapter, and any nursing home licensed under part II of chapter 400 that is in violation of this
subsection may be subject to administrative sanctions by the division pursuant to this chapter.

(d) Adjustments shall be made to the provider Medicaid rate to allow reimbursement over a 5-
year period for Medicaid's portion of the costs incurred to meet the requirements of this
subsection. Funding for this adjustment shall come from existing nursing home appropriations.

History.--s. 5, ch. 87-287; s. 2, ch. 90-359; s. 29, ch. 93-150; s. 2, ch. 93-276; s. 44, ch. 95-210; s. 7, ch. 95-379; s. 4, ch. 99-179;
s. 3, ch. 2002-287; s. 1392, ch. 2003-261; s. 2, ch. 2005-234.




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                                                                  ADD-035                                                                   2/3
12/5/22, 3:20 PM                                          Chapter 633 Section 022 - 2005 Florida Statutes - The Florida Senate
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                                                          for official purposes.

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                                                                      ADD-036                                                                    3/3
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RHODE ISLAND
STATE BUILDING CODE

SBC-5 STATE ELECTRICAL CODE




Effective August 1, 2008

Replaces Regulation SBC-5-2005




STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS


Department of Administration
BUILDING CODE STANDARDS COMMITTEE
One Capitol Hill
Providence, Rhode Island 02908-5859
(401) 222-3033
FAX NO (401) 222-2599

                                ADD-037
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                                ADD-038
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Regulation SBC-5-2008
August 1, 2008

The Building Code Standards Committee, in accordance with the rule making authority of Title 23,
Chapter 23-27.3, Section 109.1, paragraphs a through c inclusive hereby adopts the provisions of
the National Electrical Code, 2008 edition, as published by the National Fire Protection
Association, as the Rhode Island State Electrical Code, together with the amendments thereto
hereinafter set forth to the chapters and sections of said code:




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State Electrical Code
Regulation SBC-5-2008
August 1, 2008

The Building Code Standards Committee, in accordance with the rule making authority of
Title 23, Chapter 23-27.3, Section 109.1, paragraphs a through c inclusive, has formally
adopted and promulgated as the Rhode Island State Electrical Code, the provisions of the
National Electrical Code, 2008 edition, as published by the National Fire Protection
Association (NFPA) together with amendments thereto hereinafter set forth to the articles and
sections of this code:

The provisions of Title 23, Chapter 27.3 of the General Laws of Rhode Island establishing
administration and enforcement are hereby incorporated by reference. Regulatory
Administration Chapter 1 immediately follows and is supplemental to the General Laws.

Editorial Note: Code users please note:

When purchasing or using the NEC 2008 code, please take note of the particular printing edition.
Errata to that printing edition is available on-line directly at no charge at www.necdirect.org or
the office of the State Building Code Commissioner or call 401-222-3033 for further
information.

Printed copies of the administrative and enforcement provisions of Title 23, Chapter 27.3 are
available at the Office of the State Building Code Commission or on-line at
www.rilim.state.ri.us/statutes/title23/23 27.3/index.htm.

The National Electrical Code, 2008 Edition, is protected by the copyright that has been issued to
NPFA. As a result, the State Electrical Code is not available in complete form to the public in an
electronic format. The National Electrical Code 2008 edition that is referred to within is
contained in a printed volume and is also in an electronic format that have been published by
NFPA under an exclusive license.

The Office of the State Building Code Commissioner has purchased volumes of these codes and
they shall be distributed to Rhode Island cities and towns during the month of July 2008 so that
local officials will have access to the code prior to the implementation of these rules on August 1,
2008.
In order to assure public access to this code the Office of the State Building Code Commissioner
shall provide a copy of this code to the Rhode Island State Library, which is located on the second
floor of the State House. In addition, all codes may be viewed during business hours at the
Department of Administration’s Library which is located on the fourth floor of the William E.
Powers Building, One Capitol Hill, Providence.

The Legislative Regulation Committee approved adoption of this code on June 19, 2008.

                                     By:

                                     John P. Leyden
                                     Executive Secretary
                                     Rhode Island Building Code Standards Committee


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                            STATE OF RHODE ISLAND
                     BUILDING CODE STANDARDS COMMITTEE

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                                                                     Executive Secretary

      Donald Gagnon                                                   Thomas Coffey
 Minimum Housing Inspector                                            Legal Counsel


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STATE BUILDING CODE REGULATIONS

The following list includes all regulations promulgated by the State Building Code
Standards Committee. All regulations are available for a fee at the State Building
Commission.


1.    Building Code                                              SBC-1-2007
2..   One and Two Family Dwelling Code                           SBC-2-2007
3.    Plumbing Code                                              SBC-3-2007
4.    Mechanical Code                                            SBC-4-2007
5.    Electrical Code                                            SBC-5-2008
6.    Reserved
7.    Reserved
8.    Energy Conservation Code                                   SBC-8-2008
9     Enforcement and Implementation Procedures for Projects     SBC-9-2007
      Under the Jurisdiction of The State of Rhode Island
10.   Code Interpretations                                       SBC-10-2007
11.   Certification of Building Officials,                       SBC-11-2002
      Building, Electrical, Plumbing and Mechanical Inspectors

12.   New Materials and Methods of Construction                  SBC-12
13.   State Building Code for Existing Schools                   SBC-13
14.   Reserved
15.   Reserved
16.   Reserved
17.   Public Buildings Accessibility Meeting Standards           SBC-17
18.   Native Lumber                                              SBC-18
19.   Fuel Gas Code                                              SBC-19-2007




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                                            GENERAL


Delete all references to IEC and substitute Rhode Island Electrical Code SBC-5-2008.

Delete all reference to any other International Code (IBC, IRC, IMC, etc.) and refer to appropriate
SBC regulations. (See Amendment 2701.6 of SBC-1-2007.

NFPA 70-08 may also be referenced as NEC 08 and are one and the same document.

                                           ARTICLE 90

90.1   Add the following to 90.1.

               E) The installation of all work shall be accomplished by persons licensed by the
                  State of Rhode Island, Department of Labor and Training, Division of
                  Professional Regulation of Electricians, Title 5, Chapter 6, and
                  Telecommunications Chapter 5-70 of the General Laws of the State of Rhode
                  Island.

90.4   Delete 90.4 and substitute the following:

       90.4    Enforcement. This Code is intended to be suitable for mandatory
               application by governmental bodies that exercise legal jurisdiction over electrical
               installations and for use by insurance inspectors. The Committee shall have the
               responsibility for deciding upon the approval of New Materials and Methods of
               Construction in accordance with SBC-12. The Commissioner shall have the
               responsibility to issue official interpretations in accordance with SBC-10. The
               authority having jurisdiction will have the responsibility for granting special
               permission contemplated in a number of the rules.

               The authority having jurisdiction may waive specific requirements in this Code or
               permit alternate methods where it is assured that equivalent objectives can be
               achieved by establishing and maintaining effective safety.

               This Code may require new products, constructions, or materials that may not yet be
               available at the time the Code is adopted. In such event, the authority having
               jurisdiction may permit the use of the products, constructions, or materials that
               comply with the most recent previous edition of this Code adopted by the
               jurisdiction.




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                                             ADD-047
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90.6    Delete 90.6 and substitute the following:

        90.6   Formal Interpretations. To promote uniformity of
               interpretation and application of the provisions of this Code, formal interpretation
               procedures have been established and are found in the NFPA Regulations Governing
               Committee Projects.

               Formal interpretations issued by the NFPA are advisory in nature and are not binding
               on the local authority having jurisdiction unless reissued as a formal opinion by the
               State Building Code Commissioner.

90.10 Add the following new Article 90.10:

         90.10 Other Provisions. The provisions of Chapter 27 of SBC-1-2007 are herein
               incorporated by reference and are considered part of this code. See SBC-1-2007 for
               any future amendments.

110.2    Add the following new paragraph after the FPN:

               Except as modified by the authority enforcing this Code, plans, specifications,
               schedules and calculations in sufficient detail shall be filed with the authority
               enforcing this Code, showing the location, and capacity of all lighting facilities, and
               all electrically operated equipment including power circuits required for all electrical
               service equipment of the building or structure. Details shall include available fault
               current at each protective device. Details shall include showing all raceways, cables
               and or circuiting on plans.

Annexes A, B, C, D and F may be used and are included for informational purpose only.

Annex E refers to construction types in NFPA 220 which do not correlate directly with construction
types and hourly ratings specified in SBC-1-2007. Refer any questions to the building code
authority having jurisdiction.

Annex G is deleted. See the provisions of RIGL 23-27.3-100 et al for administration and
enforcement provisions.




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                                             ADD-048
